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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                               CASE NO: 0:24-cv-62080-DAMIAN

  JAMELL M. DEMONS,

           Petitioner,

  v.

  GREGORY TONY, SHERIFF OF BROWARD
  COUNTY; AND BROWARD COUNTY SHERIFF’S
  OFFICE,

           Respondent.
                                                           /


                         PETITIONER’S MOTION FOR STATUS CONFERENCE

          Petitioner, JAMELL DEMONS, through undersigned counsel requests a Status Conference

 for the earliest possible date and states as follows:

       1. This is a Habeas Corpus Petition seeking immediate injunctive relief by a prisoner in

          custody.

       2. The court heard legal argument on February 19th and scheduled an evidentiary hearing on

          March 13th, 2015.

       3. The hearing was postponed, and the parties have not received a new date for this hearing

          for which witnesses had been subpoenaed or received any rulings or orders from the court.

       WHEREFORE, it is requested that this honorable court hold a Status Conference for the

 earliest possible date.




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                                                          Respectfully submitted,

                                                          MICHAEL A. PIZZI, JR.
                                                          Florida Bar No. 079545
                                                          6625 Miami Lakes Drive, Suite 316
                                                          Miami Lakes, FL 33014
                                                          Phone: (786) 594-3948
                                                          Email: mpizzi@pizzilaw.com

                                                          By: /s/ Michael A. Pizzi, Jr.
                                                          MICHAEL A. PIZZI, JR., ESQ.



                                   CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on May 21, 2025, I electronically filed the foregoing

  document with the Clerk of the Court using CM/ECF. I also certify that the foregoing document

  is being served this day on all counsel of record or pro se parties either via transmission of Notices

  of Electronic Filing generated by CM/ECF or in some other authorized manner for those

  counselor parties who are not authorized to receive electronically Notices of Electronic Filing.

                                                          By: /s/ Michael A. Pizzi, Jr.
                                                          MICHAEL A. PIZZI, JR., ESQ.




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